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                                       UNITED STATES BANKRUPTCY COURT
                                            Eastern District of New York
                                       NOTE: All documents filed in this matter must be identified by both
                                    adversary and bankruptcy case numbers, case chapter and judge's initials.

In re: Mi Kyung Ho                                                                             Bankruptcy Case No.: 8−17−77725−las

Richard L. Stern
                                                                       Plaintiff(s),
−against−                                                                                 Adversary Proceeding No. 8−18−08062−las
Kang Ho
                                                                      Defendant(s)

                                  SUMMONS IN AN ADVERSARY PROCEEDING


YOU ARE SUMMONED and required to submit a motion or answer to the complaint, which is attached to this
summons, to the Clerk of the Bankruptcy Court within 30 days after the date of issuance of this summons, except that
the United States and its offices and agencies shall submit a motion or answer to the complaint within 35 days.

Address of Clerk:
                                                        United States Bankruptcy Court
                                                        290 Federal Plaza
                                                        Central Islip, NY 11722
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

Name and Address of Plaintiff's Attorney:
                                                                               Michael J Macco
                                                                               Macco & Stern LLP
                                                                               2950 Express Drive South
                                                                               Suite 109
                                                                               Islandia, NY 11749

If you make a motion, your time to answer is governed by Bankruptcy Rule 7012.


IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT, AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.




Dated: May 2, 2018                                                     Robert A. Gavin, Jr., Clerk of the Court




Summons (AST)[Summons and Notice of Pretrial Conf. rev. 05/27/2016]
